      Case 2:19-cv-06149-SK Document 24 Filed 04/21/20 Page 1 of 1 Page ID #:639



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 7
 8                        UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA

10   STEVEN CUNNINGHAM,                     )     CASE NO. CV 19–06149-SK
11                                          )
           Plaintiff,                       )     ORDER
12
                                            )     AWARDING ATTORNEY’S
13             v.                           )     FEES AND COSTS PURSUANT
14
                                            )     TO THE EQUAL ACCESS TO
                                            )     JUSTICE ACT, 28 U.S.C.
15   ANDREW M. SAUL,                        )     § 2412(d), AND COURT COSTS
16   COMMISSIONER OF SOCIAL                 )     PURSUANT TO 28 U.S.C. § 1920
                                            )
17        Defendant.                        )
18
         Based upon the parties’ Stipulation for Award of EAJA Fees (“Stipulation”),
19
20   IT IS ORDERED that Plaintiff is awarded attorney fees under the Equal Access to
21
     Justice Act in the amount of FOUR-THOUSAND TWO-HUNDRED DOLLARS
22
23   and NO CENTS ($4,200.00), as authorized by 28 U.S.C. § 2412(d), and Court
24
     costs in the amount of FOUR-HUNDRED DOLLARS and NO CENTS, pursuant
25
26   to 28 U.S.C. § 1920, subject to the terms of the Stipulation.

27   DATED: April 21, 2020
28                                                    ____________________________
                                                      Steve Kim, U.S. Magistrate Judge


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